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                           UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TEXAS (SHERMAN)

 CRAIG CUNNINGHAM,                            )
                                              )      No. 4:17-CV-00839
        Plaintiff                             )
        v.                                    )      Judge Amos L. Mazzant, III
                                              )
 AMBER FLORIO, LAW OFFICES OF                 )      Magistrate Judge Christine A. Nowak
 AMBER FLORIO, PLLC, GLOBAL                   )
 CLIENT SOLUTIONS, LLC,                       )
 COMMONWEALTH SERVICING                       )
 GROUP, LLC, MONMOUTH                         )
 MARKETING GROUP, LLC, TOM                    )
 MORAN, DMB FINANCIAL, LLC,                   )
 HAL BROWDER and MATTHEW                      )
 GUTHRIE,                                     )
                                              )
        Defendants                            )


    DEFENDANTS, DMB FINANCIAL, LLC, AMBER FLORIO, LAW OFFICES OF
   AMBER FLORIO, PLLC, HAL BROWDER, MATTHEW GUTHRIE, MONMOUTH
   MARKETING GROUP, LLC, COMMONWEALTH SERVICING GROUP. LLC AND
    TOM MORAN’S SUPPLEMENTAL MEMORANDUM IN SUPPORT OF THEIR
                         MOTIONS TO DISMISS

        Pursuant to Court’s request, as set forth in Document Number 81, Defendants, DMB

 Financial, LLC, Amber Florio, Law Offices of Amber Florio, PLLC, Hal Browder, Matthew

 Guthrie, Monmouth Marketing Group, LLC, Commonwealth Servicing Group, LLC and Tom

 Moran (collectively “Defendants”) collectively file the attached Supplemental Memorandum in

 Support of their Motions (filed separately) to Dismiss (based on a lack of personal jurisdiction).

 The attached Supplemental Memorandum in Support will address the issues of 1) whether the

 Fair Debt Collection Practices Act (“FDCPA”) applies in this instance, and 2) whether the

 FDCPA provides for nationwide service of process.
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                      SUPPLEMENTAL MEMORANDUM IN SUPPORT


    1. THE FDCPA DOES NOT APPLY IN THIS INSTANCE.

            As noted in the Defendants’ separate Motions to Dismiss, the Plaintiff alleges that the

 “the Defendants in this case violated the FDCPA by attempting to collect a debt and falsely

 representing their names, which is a false or misleading representation…All of the above named

 defendants are also debt collectors as defined by the FDCPA, 15 USC § 1692(a), as they are

 using interstate commerce and they are in the principal purpose of collecting debts due to another,

 in this case, student loan debt.” As none of the Defendants are debt collectors, it is believed that

 the Plaintiff included the FDCPA allegations by mistake in that they were likely cut and pasted

 from one of his many other complaints (likely involving calls from a debt collector).

        A debt collector is defined by the FDCPA as “any person who uses any instrumentality of

 interstate commerce or the mails in any business the principal purpose of which is the collection

 of any debts, or who regularly collects or attempts to collect, directly or indirectly, debts owed or

 due or asserted to be owed or due another.” The Plaintiff fails to establish that any of the

 Defendants are debt collectors under the aforementioned definition of the FDCPA. In fact, it can

 be inferred from the Plaintiff’s allegations that the Defendants are involved in debt relief services,

 not debt collection. Specifically, the Plaintiff alleges that he obtained a representation agreement

 from the Law Offices of Amber Florio (which the Plaintiff infers is an agreement for debt relief

 services provided by the Law Offices of Amber Florio). If the Law Offices of Amber Florio were

 in fact trying to collect a debt, there is no reason why a law firm would send out a representation

 agreement to represent the Plaintiff in such an instance. The notion that the Defendants are

 allegedly involved in debt relief services is further supported by the Plaintiff’s allegations in that

 he “learned that the debt relief services were actually by and on behalf of the Commonwealth
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 Servicing Group, LLC and DMB Financial, LLF…,” and that the alleged calls “had a familiar

 ‘Heather with card service’ pre-recorded message and were selling debt relief services.” The

 Plaintiff also acknowledges and alleges the manner in which certain debts would be resolved by

 stating, “[i]t was repeatedly mentioned in the phone calls that an escrow type service would be

 used to redirect payments that the Plaintiff was currently making to his creditors in order to save

 up enough money to make a settlement offer.”

        In light of the foregoing, the Plaintiff fails to properly allege a claim under the FDCPA.

 Specifically, the Plaintiff fails to allege that a debt was owed to the Defendants and that the

 Defendants meet the definition of a debt collector as set forth by the FDCPA. Moreover, the

 FDCPA allegations made by the Plaintiff appear to be out of context in this situation as the

 Defendants clearly are not, based on the conflicting allegations made by the Plaintiff, debt

 collectors. The Defendants cannot be both engaged in debt relief services and debt collection at

 the same time as there would be a significant conflict of interest. Perhaps, this was a poor cut and

 paste job by the Plaintiff from one of his other numerous TCPA pleadings that he has filed both

 in Texas and Tennessee (amongst other states). Therefore, any allegations made under the

 FDCPA should be dismissed with prejudice. As such, the Court should not apply the FDCPA in

 its analysis of the Court’s ability to exercise personal jurisdiction over the Defendants.

    2. THERE IS A SPLIT IN AUTHORITY ON WHETHER ON NATIONWIDE

        SERVICE OF PROCESS UNDER THE FDCPA.

    The Court, in its Order, referenced the Salihu and Holmes decisions, which both rely on Reese

 Bros, Inc. v. US Postal service, 477 F.Supp. 2d 31 (D.D.C March 5, 2007). Unquestionably, the

 authorities cited hold that the FDCPA provides for nationwide service. Applying those cases,

 Defendants concede that nationwide service would apply. There appears, however, to be a split

 on this issue within the Federal District Courts that the Defendants refer to the Court’s attention

 as persuasive authority.
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    The Court in Vlasak v. Rapid Collection Systems, Inc., specifically held that the “FDCPA

 does not authorize nationwide service of process...” 962 F. Supp. 1096, 1100 (N.D. ILL, 1997).

 Vlasak, an Illinois resident, alleged that certain communications from Rapid, an Arizona

 corporation, violated the FDCPA. Id. at 1097. Instead of a using nationwide service of process

 analysis that some federal legislation expressly provides, the Vlasak court applied a minimal

 contact analysis as set forth in “International Shoe and its progeny.” Id. at 1101.

        In light of the court’s finding in Vlasak, the Defendants urge the Court to apply a minimal

 contact analysis (in lieu of a nationwide service of process analysis) in determining whether the

 Court has personal jurisdiction over the out-of-state Defendants.



                                          CONCLUSION

        For the forgoing reasons, this Court should find that the Plaintiff failed to allege a cause

 of action under the FDCPA (and dismiss any such count with prejudice), and/or find that the

 Court lacks personal jurisdiction over the out-of-state Defendants.



                                               RESPECTFULLY SUBMITTED

                                               /s/Jason Augustine
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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on June 14, 2018, a true and correct copy of the foregoing was
 served upon all parties using the Court’s electronic filing system.



                                           /s/ Jason Augustine
                                           Jason Augustine




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